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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )                 4:14CR3138-1
                                      )
           V.                         )
                                      )
ANDREW JOSE ESPINOZA,                 )                   ORDER
                                      )
                 Defendant.           )
                                      )


      IT IS ORDERED that the plaintiff’s motion to dismiss Count I without
prejudice as to Defendant Espinoza (filing 134) is granted.

     DATED this 27th day of October, 2015.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     Senior United States District Judge
